                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA,                     '
               Plaintiff,                     '
                                              '
              v.                              '      CASE NO. 4:21-cv-1349
                                              '
$11,409.02 SEIZED FROM A                      '
COMERICA BANK ACCOUNT                         '
ENDING IN 2113,                               '
                 Defendant.                   '

                       UNITED STATES’ MOTION FOR
               FINAL JUDGMENT OF FORFEITURE BY DEFAULT

       The United States moves for a default and a final judgment of forfeiture for

$11,409.02 that was seized from a bank account and that is proceeds of a fraudulent loan

application that was submitted by wire.

                             Nature and Stage of Proceeding

       On July 12, 2021, the Court ordered the Clerk of the Court to enter default. Dkt 11.

The Clerk made entry of default on July 26, 2021, pursuant to Rule 55(a) of the Federal

Rules of Civil Procedure. Minute Entry of 07/26/2021.

       The United States now seeks a final judgment of forfeiture by default, pursuant to

Rule 55(b). The fact necessary to resolution is that despite notice and publication, no party

has filed a claim or an answer to the civil forfeiture complaint.

                                  Statement of the Issue

       The issue before the Court is whether the United States is entitled to a default

judgment of forfeiture for the $11,409.02 in seized funds, pursuant to Rule 55(b) of the
Federal Rules of Civil Procedure. Appellate courts review the entry of a default judgment

for abuse of discretion. Wooten v. McDonald Transit Assocs., Inc., 788 F.3d 490, 495 (5th

Cir. 2015).

                                Argument and Authorities

       The United States sent notice to the potential claimant account holder and published

notice. No party filed a claim, and the Clerk has entered default. The United States seeks

a default judgment forfeiting the $11,409.02 defendant property, pursuant to Rule 55(b) of

the Federal Rules of Civil Procedure.

   A. The Complaint Set Forth a Sufficient Factual Basis

       The Complaint filed in this case sets forth “sufficiently detailed facts to support a

reasonable belief that the government will be able to meet its burden of proof at trial.” Rule

G(2)(f) of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture

Actions. Specifically, the Complaint alleged that on or about May 31, 2020, a Paycheck

Protection Program (“PPP”) loan application was submitted to Community Federal

Savings Bank by wire on behalf of Uddin Investments LLC. The application contained

materially false representations and fraudulent supporting documents.

       Uddin Investments’ PPP loan was approved in reliance on the material

misrepresentations, and on or about June 5, 2020, loan funds of $491,664 were wired into

Uddin Investment’s Comerica Bank Account 2113. The defendant property of $11,409.02

was seized from Account 2113 by warrant.



                                              2
       The United States contends that the seized sum of $11,409.02 constitutes proceeds

traceable to specified unlawful activity, namely a fraudulent loan application in violation

of 18 U.S.C. § 1014 and wire fraud in violation of 18 U.S.C. § 1343. The seized funds are

thus subject to forfeiture under 18 U.S.C. §§ 981(a)(1)(C) and 984.

   B. A Final Judgment of Forfeiture is Appropriate

       Entry of default must precede entry of a default judgment. New York Life Ins. Co.

v. Brown, 84 F.3d 137, 141 (5th Cir 1996). The Clerk entered default on July 26, 2021,

pursuant to FED.R.CIV.P. 55(a).

       The requested relief is appropriate, given the evidence presented by the

Government, the sufficiency of the proceedings, and the failure of any party to assert

otherwise. See United States v. $44,860.00 in U.S. Currency, No. 3:08-CV-1870, 2010

WL 157538, at *3 (N.D. Tex. Jan. 14, 2010).

       In this case, the United States sent notice to the potential claimant account holder

and published notice. No party filed a claim, and the Clerk has entered default. The United

States seeks a final judgment of forfeiture.

                                        Conclusion

       Pursuant to Rule 55(b) of the Federal Rules of Civil Procedure, the United States

moves for a default and a final judgment of forfeiture of the $11,409.02 defendant property.

A proposed order is attached for the Court’s consideration.




                                               3
                                                Respectfully submitted,

                                                JENNIFER B. LOWERY
                                                Acting United States Attorney

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                         CERTIFICATE OF WORD COUNT

      I certify this motion complies with the word count limitation contains of the Court’s
Procedures because it contains 611 words, excluding the parts of the motion exempted.

                                                s/ Kristine E. Rollinson
                                                Kristine E. Rollinson
                                                Assistant U.S. Attorney




                            CERTIFICATE OF SERVICE

        A true and correct copy of this document was filed of record via electronic court
filing on August 31, 2021, although there are no parties to this suit to be served.

                                                s/ Kristine E. Rollinson
                                                Kristine E. Rollinson
                                                Assistant U.S. Attorney




                                            4
